       Case 1:12-cv-00929-VSB-KNF Document 291 Filed 04/05/19 Page 1 of 5



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
AMERICAN LECITHIN COMPANY,
LIPOID GmbH, LIPOID LLC, and
PHOSPHOLIPID GmbH,
                                    Plaintiffs,               Case No. 12-cv-00929-VSB-KNF

-against-


CARSTEN MATTHIAS REBMANN,
                    Defendant, Counterclaim
                    and Third-Party
                    Plaintiff,
-against-

HERBERT REBMANN, LIPOID STIFTUNG,
LIPOID BETEILIGUNGS GmbH,
LIPOID VERWALTUNGS AG,
LIPOID GRUNDSTUECKS GmbH, and
PHOSPHOLIPID FORSCHUNGSZENTRUM e.V.,

                                    Third-Party Defendants.
------------------------------------------------------x


    REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THIRD-PARTY
        DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT



        The issue on this motion for partial summary judgment is whether the undisputed facts

show that Defendant has no claim for conversion against Third-Party Defendant Dr. Herbert

Rebmann. Under New York case law, it is clear that Defendant must show that Dr. Rebmann

converted property of the Defendant’s by exercising at least dominion and control over that

property. Defendant cannot do so. Defendant’s own testimony shows that it was not Dr.

Rebmann who exercised dominion and control over Defendant’s withdrawn company ownership

interest, but the company.



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      Case 1:12-cv-00929-VSB-KNF Document 291 Filed 04/05/19 Page 2 of 5



       While Defendant claims that Dr. Rebmann was the directing force behind the shareholder

resolution that resulted in company action, Defendant himself testifies and submits documents

showing that it was the company, Lipoid Grundstücks GmbH (“Lipoid G”), which in fact

withdrew and exercised dominion, control and possession of Defendant’s ownership interest in

Lipoid G as a result of shareholder action. It was not Dr. Rebmann who took Defendant’s

interest but Lipoid G. 1 Defendant offers no evidence, as is his obligation in opposing this

motion, that Dr. Rebmann committed an act that amounted to conversion of Defendant’s

ownership interest by Dr. Rebmann individually.


       The two cases Defendant cites for the proposition that conversion need not involve a

physical taking possession or exercise of ownership do not save his claim. There must still be an

affirmative act directly affecting claimant’s property to constitute conversion. The defendant to

the claim must personally stand between the claimant and his property and deny the claimant his

property rights. The cases Defendant cites make clear that the accused tortfeasor must by an

unauthorized act exercise at least “dominion and control” to the exclusion of the claimant’s

ownership rights:


               This unlawful exercise of dominion and control over plaintiff's property
       constitutes a conversion. Interference with the right to possession is the essence of
       a conversion. It is not necessary that one take actual physical possession of
       property to be guilty of conversion. Any wrongful exercise of dominion by one
       other than the owner is a conversion. Nor is a wrongful intention to possess the
       property of another an essential element of a conversion. It is sufficient if the

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 Defendant’s claim for conversion is defective for still another reason: Under New York law, he
must plead and prove that he in fact had a physical stock certificate or other tangible paper
document evidencing his ownership interest that was converted by Dr. Rebmann. See LG
Capital Funding, LLC v. CardioGenics Holdings, Inc., No. 16-CV-1215-AMD-SJB, 2018 WL
1521861, at *6 (E.D.N.Y. Feb. 20, 2018); LG Capital Funding, LLC v. Coroware, Inc., No. 16-
CV-2266 (AMD) (PK), 2017 WL 9250379, at *4 (E.D.N.Y. July 12, 2017); Jin Yung Chung v.
Sano, No. 10-CV-2301 (DLI)(CLP), 2011 WL 1298891, at *8-9 (E.D.N.Y. Mar. 31, 2011).
Defendant has made no such allegation.
                                                 2
      Case 1:12-cv-00929-VSB-KNF Document 291 Filed 04/05/19 Page 3 of 5



       owner has been deprived of his property by the defendant's unauthorized act in
       assuming dominion and control. No manual taking of the property or application
       of it to the defendant's own use is required. The exercise of dominion over
       property to the exclusion of and in defiance of the owner's right is a conversion.

Gen. Elec. Co. v. Am. Export Isbrandsten Lines, Inc., 37 A.D.2d 959, 959-60, 327 N.Y.S.2d 93,

95 (2d Dept. 1971) (internal citations omitted); Hillcrest Homes, LLC v. Albion Mobile Homes,

Inc., 117 A.D.3d 1434, 1436, 984 N.Y.S.2d 755, 757 (4th Dept. 2014) (“A conversion takes place

when someone, intentionally and without authority, assumes or exercises control over personal

property belonging to someone else, interfering with that person's right of possession”) (quoting

Colavito v. N.Y. Organ Donor Network, Inc., 860 N.E.2d 713, 717, 8 N.Y.3d 43, 49-50 (2006))

(additional citations omitted). While Dr. Rebmann may have exercised his own, separate

ownership interests along with the other shareholders to produce a decision by the company, he

was not the entity who exercised any dominion or control over Defendant’s ownership interest.

Defendant claims that the withdrawal by Lipoid G was unauthorized by German law, but, even

crediting that claim arguendo, that would be an unauthorized act by the company, not by Dr.

Rebmann.


       The shortcoming in Defendant’s case is that he has clearly in his own affidavit testimony

and accompanying exhibits portrayed a situation in which his ownership interest in Lipoid G

went directly from his hands to the company’s as a result of company action. There was no

intermediate transfer from Defendant to Dr. Rebmann, no stopover in Dr. Rebmann’s hands,

before the company reabsorbed the shares. Dr. Rebmann never exercised dominion or control

over the shares, much less any possession or ownership; the company withdrew them directly

from Defendant and retained those shares itself.




                                                   3
      Case 1:12-cv-00929-VSB-KNF Document 291 Filed 04/05/19 Page 4 of 5



       Defendant also cites a group of cases for the proposition that officers or agents of a

corporation are personally liable for their own acts which bring about a conversion even if acting

on behalf of the corporation. Those cases, though, all involved corporate officers acting as

officers and exercising direct dominion and control, and often personal possession, of the

plaintiff’s tangible property. See Jami Mktg. Servs., Inc. v. Howard, No. 86 CV 3352, 1988 WL

46106, at *2-3 (E.D.N.Y. Apr. 26, 1988) (plaintiff’s money allegedly taken by corporate officers

for their own purposes); PDK Labs, Inc. v. G.M.G. Trans W. Corp., 101 A.D.3d 970, 974, 957

N.Y.S.2d 191, 195 (2d Dept. 2012) (“the complaint adequately alleges that the individual

defendants personally participated in the allegedly wrongful withholding of the

pharmaceuticals”); Ingram v. Machel & Jr. Auto Repair, Inc., 148 A.D.2d 324, 325, 538

N.Y.S.2d 539, 541 (1st Dept. 1989) (corporation president who hired auctioneer to sell plaintiff’s

automobile was a “direct participant” in the conversion); Prudential-Bache Secs., Inc. v. Golden

Larch-Sequoia, Inc., 118 A.D.2d 487, 487-88 500 N.Y.S.2d 1, 1-2 (1st Dept. 1986) (defendant

corporate officers who refused plaintiff’s request to them to return money mistakenly wired to

corporation and under defendants’ control could be liable for conversion). These cases are

inapplicable. Dr. Rebmann did not take Defendant’s ownership interest and give them to the

company, nor did Dr. Rebmann hire someone to do so.


       This was not Dr. Rebmann acting as a company officer or agent. This was Dr. Rebmann

and the other shareholders acting in their capacities as shareholders. It is long-settled law that

shareholders are not agents of a corporation. See Rensselaer & S.R. Co. v. Irwin, 239 F. 739, 746

(N.D.N.Y. 1917), aff’d, 249 F. 726 (2d Cir. 1918); Van Heusen v. Van Heusen Charles Co., 74

Misc. 292, 299, 131 N.Y.S. 401, 406 (Supr. Ct. Albany Cty. 1911). Their action in coming to a

group decision does not make them personally liable for the actions of the company.


                                                  4
        Case 1:12-cv-00929-VSB-KNF Document 291 Filed 04/05/19 Page 5 of 5



         Lipoid G withdrew Defendant’s ownership interest directly from Defendant. If

Defendant has a claim, it is against Lipoid G for breach of contract, not against Dr. Rebmann for

tort.


                                              Conclusion

         For the foregoing reasons, Third-Party Defendant’s Motion for Partial Summary

Judgment should be granted in its entirety.


Dated: April 5, 2019

                                               Respectfully submitted,



                                               ________________________
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